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               United States Court of Appeals
                                 For the First Circuit
                                    _____________________
No. 19-2203

                                    ANGELA FRECHETTE,

                                       Plaintiff - Appellant,

                                                 v.

 ROGER BEAUPRE, in his individual and official capacity as Chief of Police for the Biddeford
                       Police Department; BIDDEFORD, ME,

                                     Defendants - Appellees,

                                    NORMAN GAUDETTE,

                                           Defendant.
                                      __________________

                                              Before

                                    Howard, Chief Judge,
                              Thompson and Barron, Circuit Judges.
                                    __________________

                                          JUDGMENT

                                     Entered: March 21, 2022

        We have reviewed the parties' submissions and the record. This court's decision in Ouellette
v. Beaupre, 977 F.3d 127 (1st Cir. 2020), is dispositive of this appeal. For essentially the reasons
stated in Ouellette, we vacate the grant of summary judgment to defendants Roger Beaupre and
the City of Biddeford based on the statute of limitations, and remand for further proceedings.



                                                       By the Court:

                                                       Maria R. Hamilton, Clerk
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cc:
Hon. Lance E. Walker
Christa Berry, Clerk, United States District Court for the District of Maine
Gene R. Libby
Tyler Justin Smith
Timothy Joseph Bryant
Jonathan George Mermin
Keith R. Jacques
Walter F. McKee
Matthew D. Morgan
Kurt Peterson
